                  Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 1 of 9
                                                                                                      CLOSED,ECF
                                     U.S. District Court
                        Southern District of New York (Foley Square)
                      CIVIL DOCKET FOR CASE #: 1:18−cv−02907−GBD

Natixis Funding Corporation v. Genon Mid−Atlantic, LLC              Date Filed: 04/02/2018
Assigned to: Judge George B. Daniels                                Date Terminated: 02/19/2019
Case in other court: New York State Supreme Court, County of New    Jury Demand: None
                     York, 650817−2018                              Nature of Suit: 190 Contract: Other
Cause: 28:1334 Bankruptcy Appeal                                    Jurisdiction: Federal Question
Plaintiff
Natixis Funding Corporation                           represented by Neil Stephen Binder
                                                                     Binder & Schwartz LLP
                                                                     366 Madison Avenue, 6th Floor
                                                                     New York, NY 10017
                                                                     212−510−7008
                                                                     Fax: 212−510−7299
                                                                     Email: nbinder@binderschwartz.com
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                    Wendy Helene Schwartz
                                                                    Binder & Schwartz LLP
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                                                                    212−510−7008
                                                                    Fax: 212−510−7299
                                                                    Email: wschwartz@binderschwartz.com
                                                                    LEAD ATTORNEY
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                                                                    Martin Tomas Murphy
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                                                                    Fax: 212−510−7299
                                                                    Email: tmurphy@binderschwartz.com
                                                                    ATTORNEY TO BE NOTICED

                                                                    Tessa Brianne Harvey
                                                                    Dickstein Shapiro LLP
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                                                                    New York, NY 10019
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                                                                    Email: tharvey@binderschwartz.com
                                                                    ATTORNEY TO BE NOTICED


V.
                Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 2 of 9
Defendant
Genon Mid−Atlantic, LLC                                  represented by Stephen C. Hackney
                                                                        Kirkland & Ellis LLP (IL)
                                                                        300 North LaSalle Street
                                                                        Chicago, IL 60654
                                                                        (312)−862−2000
                                                                        Email: shackney@kirkland.com
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED

                                                                          Kelsey Bleiweiss
                                                                          Kirkland & Ellis LLP (IL)
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                                                                          (312) 862−3044
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Ravi Subramanian Shankar
                                                                          Kirkland & Ellis LLP (IL)
                                                                          300 North LaSalle Street
                                                                          Chicago, IL 60654
                                                                          (312) 862−2027
                                                                          Email: ravi.shankar@kirkland.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          William Edward Arnault
                                                                          Kirkland & Ellis LLP
                                                                          300 North LaSalle
                                                                          Chicago, IL 60654
                                                                          312−862−2000
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                                                                          Email: warnault@kirkland.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          Benjamin Fader Cooper
                                                                          Kirkland & Ellis LLP (NYC)
                                                                          601 Lexington Avenue
                                                                          New York, NY 10022
                                                                          (212)−446−5968
                                                                          Email: benjamin.cooper@kirkland.com
                                                                          ATTORNEY TO BE NOTICED


 Date Filed    #   Docket Text

 04/02/2018   Ï1   FILING ERROR − PDF ERROR − NOTICE OF REMOVAL from Supreme Court, County of
                   New York. Case Number: 650817/2018. (Filing Fee $ 400.00, Receipt Number
                   0208−14888295).Document filed by Genon Mid−Atlantic, LLC. (Attachments: # 1 Exhibit 1, # 2
                   Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                   Exhibit 9, # 10 Exhibit 10)(Cooper, Benjamin) Modified on 4/3/2018 (jgo). (Entered: 04/02/2018)

 04/02/2018   Ï2   FILING ERROR − PDF ERROR − CIVIL COVER SHEET filed. (Cooper, Benjamin) Modified
                   on 4/3/2018 (jgo). (Entered: 04/02/2018)
              Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 3 of 9
04/02/2018   Ï3   NOTICE OF APPEARANCE by Benjamin Fader Cooper on behalf of Genon Mid−Atlantic, LLC.
                  (Cooper, Benjamin) (Entered: 04/02/2018)

04/02/2018   Ï4   RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent GenOn
                  Americas Generation, LLC, Corporate Parent GenOn Energy Holdings, Inc., Corporate Parent NRG
                  North America LLC, Corporate Parent NRG Americas, Inc., Corporate Parent GenOn Energy, Inc.,
                  Corporate Parent NRG Energy, Inc. for Genon Mid−Atlantic, LLC. Document filed by Genon
                  Mid−Atlantic, LLC.(Cooper, Benjamin) (Entered: 04/02/2018)

04/03/2018   Ï    ***NOTICE TO ATTORNEY REGARDING REMOVAL OF PARTY. Notice to attorney
                  Benjamin Fader Cooper. The following party/parties has been removed from this case:
                  Natixis, New York Branch; Morgantown OL1; Morgantown OL2; Morgantown OL3;
                  Morgantown OL4; Morgantown OL5; Morgantown OL6; Morgantown OL7; Dickerson OL1
                  LLC; Dickerson OL2 LLC; Dickerson OL3 LLC; Dickerson OL4 LLC; U.S. Bank National
                  Association, as Lease Indenture Trustee. The party was added to the case in error. (jgo)
                  (Entered: 04/03/2018)

04/03/2018   Ï    ***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to Attorney
                  Benjamin Fader Cooper to RE−FILE Document No. 1 Notice of Removal,. The filing is
                  deficient for the following reason(s): Pursuant to Rule 13.3, exhibits to Notice of Removals are
                  to be labeled i.e. Summons and Complaint. Re−file the pleading using the event type Notice of
                  Removal found under the event list Complaints and Other Initiating Documents − attach the
                  correct signed PDF − select the individually named filer/filers − select the individually named
                  party/parties the pleading is against. (jgo) (Entered: 04/03/2018)

04/03/2018   Ï    ***NOTICE TO ATTORNEY REGARDING DEFICIENT CIVIL COVER SHEET. Notice to
                  attorney Benjamin Fader Cooper to RE−FILE Document No. 2 Civil Cover Sheet. The filing is
                  deficient for the following reason(s): Jury Demand Code − No selection;. Re−file the document
                  using the event type Civil Cover Sheet found under the event list Other Documents and attach
                  the correct PDF. Use civil cover sheet issued by S.D.N.Y. dated June 2017. The S.D.N.Y. Civil
                  Cover Sheet dated June 2017 is located at
                  http://nysd.uscourts.gov/file/forms/civil−cover−sheet.. (jgo) (Entered: 04/03/2018)

04/03/2018   Ï    ***NOTICE TO ATTORNEY REGARDING CIVIL CASE OPENING STATISTICAL
                  ERROR CORRECTION: Notice to attorney Benjamin Fader Cooper. The following case
                  opening statistical information was erroneously selected/entered: Cause of Action code none;
                  Fee Status code due (due);. The following correction(s) have been made to your case entry: the
                  Cause of Action code has been modified to 28:1334; the Fee Status code has been modified to
                  pd (paid);. (jgo) (Entered: 04/03/2018)

04/03/2018   Ï    CASE OPENING INITIAL ASSIGNMENT NOTICE: The above−entitled action is assigned to
                  Judge George B. Daniels. Please download and review the Individual Practices of the assigned
                  District Judge, located at http://nysd.uscourts.gov/judges/District. Attorneys are responsible for
                  providing courtesy copies to judges where their Individual Practices require such. Please download
                  and review the ECF Rules and Instructions, located at http://nysd.uscourts.gov/ecf_filing.php. (jgo)
                  (Entered: 04/03/2018)

04/03/2018   Ï    Magistrate Judge Henry B. Pitman is so designated. Pursuant to 28 U.S.C. Section 636(c) and Fed.
                  R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed before a United States
                  Magistrate Judge. Parties who wish to consent may access the necessary form at the following link:
                  http://nysd.uscourts.gov/forms.php. (jgo) (Entered: 04/03/2018)

04/03/2018   Ï    Case Designated ECF. (jgo) (Entered: 04/03/2018)

04/04/2018   Ï5   NOTICE OF REMOVAL from Supreme Court, County of New York. Case Number:
                  650817/2018..Document filed by Genon Mid−Atlantic, LLC. (Attachments: # 1 Exhibit 1 −
                  Summons and Complaint, # 2 Exhibit 2 − Request for Judicial Intervention, # 3 Exhibit 3 − Request
                Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 4 of 9
                    for Judicial Intervention Addendum, # 4 Exhibit 4 − Commercial Division Request for Judicial
                    Intervention Addendum, # 5 Exhibit 5 − Notice of Appearance − L. Bush (Natixis), # 6 Exhibit 6 −
                    Notice of Appearance − N. Binder (Natixis), # 7 Exhibit 7 − Notice of Appearance − T. Harvey
                    (Natixis), # 8 Exhibit 8 − Notice of Appearance − M. Conway (U.S. Bank), # 9 Exhibit 9 − Notice
                    of Appearance − M. Conway (U.S. Bank−Lease Indenture Trustee), # 10 Exhibit 10 − Notice of
                    Appearance − S. Forte (U.S. Bank−Lease Indenture Trustee))(Cooper, Benjamin) (Entered:
                    04/04/2018)

04/04/2018    Ï6    CIVIL COVER SHEET filed. (Cooper, Benjamin) (Entered: 04/04/2018)

04/04/2018    Ï7    MOTION for Stephen C. Hackney to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                    0208−14898194. Motion and supporting papers to be reviewed by Clerk's Office staff.
                    Document filed by Genon Mid−Atlantic, LLC. (Attachments: # 1 Affidavit Affidavit of S. Hackney
                    in Support of Motion for Admission Pro Hac Vice, # 2 Text of Proposed Order Proposed Order
                    Granting Motion to Appear Pro Hac Vice)(Hackney, Stephen) (Entered: 04/04/2018)

04/04/2018    Ï8    MOTION for William E. Arnault to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                    0208−14898299. Motion and supporting papers to be reviewed by Clerk's Office staff.
                    Document filed by Genon Mid−Atlantic, LLC. (Attachments: # 1 Affidavit Affidavit in Support of
                    William E. Arnault in Support of Motion for Admission Pro Hac Vice, # 2 Text of Proposed Order
                    Proposed Order Granting Motion for Admission Pro Hac Vice)(Arnault, William) (Entered:
                    04/04/2018)

04/04/2018    Ï9    MOTION for Ravi S. Shankar to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                    0208−14898321. Motion and supporting papers to be reviewed by Clerk's Office staff.
                    Document filed by Genon Mid−Atlantic, LLC. (Attachments: # 1 Affidavit Affidavit of Ravi S.
                    Shankar in Support of Motion for Admission Pro Hac Vice, # 2 Text of Proposed Order Proposed
                    Order Granting Motion for Admission Pro Hac Vice)(Shankar, Ravi) (Entered: 04/04/2018)

04/04/2018   Ï 10   MOTION for Kelsey Bleiweiss to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                    0208−14898346. Motion and supporting papers to be reviewed by Clerk's Office staff.
                    Document filed by Genon Mid−Atlantic, LLC. (Attachments: # 1 Affidavit Affidavit of Kelsey
                    Bleiweiss in Support of Motion for Admission Pro Hac Vice, # 2 Text of Proposed Order Proposed
                    Order Granting Motion for Admission Pro Hac Vice)(Bleiweiss, Kelsey) (Entered: 04/04/2018)

04/04/2018     Ï    >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document No. 10
                    MOTION for Kelsey Bleiweiss to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                    0208−14898346. Motion and supporting papers to be reviewed by Clerk's Office staff., 9
                    MOTION for Ravi S. Shankar to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                    0208−14898321. Motion and supporting papers to be reviewed by Clerk's Office staff., 7
                    MOTION for Stephen C. Hackney to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                    number 0208−14898194. Motion and supporting papers to be reviewed by Clerk's Office
                    staff., 8 MOTION for William E. Arnault to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                    number 0208−14898299. Motion and supporting papers to be reviewed by Clerk's Office
                    staff.. The documents have been reviewed and there are no deficiencies. (jc) (Entered:
                    04/04/2018)

04/04/2018   Ï 11   INITIAL PRETRIAL CONFERENCE: Initial Conference set for 6/27/2018 at 09:30 AM in
                    Courtroom 11A, 500 Pearl Street, New York, NY 10007 before Judge George B. Daniels, as further
                    set forth in this order. (Signed by Judge George B. Daniels on 4/4/2018) (jwh) (Entered:
                    04/04/2018)

04/05/2018   Ï 12   ORDER FOR ADMISSION PRO HAC VICE: granting 7 Motion for Stephen C. Hackney to
                    Appear Pro Hac Vice. (Signed by Judge George B. Daniels on 4/5/2018) (ap) (Entered: 04/05/2018)

04/05/2018   Ï 13   ORDER FOR ADMISSION PRO HAC VICE: granting 8 Motion for William E. Arnault to Appear
                    Pro Hac Vice. (Signed by Judge George B. Daniels on 4/5/2018) (ap) (Entered: 04/05/2018)
                Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 5 of 9
04/05/2018   Ï 14   ORDER FOR ADMISSION PRO HAC VICE: granting 10 Motion for Kelsey Bleiweiss to Appear
                    Pro Hac Vice. (Signed by Judge George B. Daniels on 4/5/2018) (ap) (Entered: 04/05/2018)

04/05/2018   Ï 15   ORDER FOR ADMISSION PRO HAC VICE: granting 9 Motion for Ravi S. Shankar to Appear
                    Pro Hac Vice. (Signed by Judge George B. Daniels on 4/5/2018) (ap) (Entered: 04/05/2018)

04/06/2018   Ï 16   NOTICE OF APPEARANCE by Neil Stephen Binder on behalf of Natixis Funding Corporation.
                    (Binder, Neil) (Entered: 04/06/2018)

04/06/2018   Ï 17   NOTICE OF APPEARANCE by Wendy Helene Schwartz on behalf of Natixis Funding
                    Corporation. (Schwartz, Wendy) (Entered: 04/06/2018)

04/06/2018   Ï 18   NOTICE OF APPEARANCE by Martin Tomas Murphy on behalf of Natixis Funding Corporation.
                    (Murphy, Martin) (Entered: 04/06/2018)

04/06/2018   Ï 19   NOTICE OF APPEARANCE by Tessa Brianne Harvey on behalf of Natixis Funding Corporation.
                    (Harvey, Tessa) (Entered: 04/06/2018)

04/11/2018   Ï 20   STIPULATION: IT IS HEREBY STIPULATED AND AGREED by the parties hereto, through
                    their undersigned counsel, as follows: 1. NFC shall file the Remand Motion on or before April 26,
                    2018. 2. GenMa shall rile the Transfer Motion and its opposition to NFC's Remand Motion on or
                    before May 24, 2018. 3. NFC shall file its reply in support of the Remand Motion and its opposition
                    to GenMa's Transfer Motion on or before June 21, 2018. 4. GenMa shall file its reply in support or
                    the Transfer Motion on or before July 9, 2018. 5. GenMa's time to answer or otherwise respond to
                    the Complaint shall be and hereby is extended from April 9, 2018 to the date that is 21 days
                    following (a) the date that the remanded case is re−docketed in the New York State Court, if the
                    Remand Motion is granted; (b) the date that the transferred case is docketed in the United States
                    Bankruptcy Court for the Southern District of Texas, if the Remand Motion is denied and the
                    Transfer Motion is granted; or (c) the latest date that an order denying either of the Motions is
                    entered, if both Motions arc denied. (Motions due by 4/26/2018. Cross Motions due by 5/24/2018.
                    Responses due by 6/21/2018. Replies due by 7/9/2018.) (Signed by Judge George B. Daniels on
                    4/11/2018) (jwh) (Entered: 04/11/2018)

04/12/2018   Ï 21   RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent Natixis
                    S.A., Corporate Parent Natixis North America LLC, Corporate Parent Groupe BPCE for Natixis
                    Funding Corporation. Document filed by Natixis Funding Corporation.(Binder, Neil) (Entered:
                    04/12/2018)

04/16/2018   Ï 22   NOTICE of Statement upon Removal Pursuant to Fed. R. Bankr. P. 9027(e)(3) re: 5 Notice of
                    Removal,,,. Document filed by Natixis Funding Corporation. (Binder, Neil) (Entered: 04/16/2018)

04/26/2018   Ï 23   MOTION to Remand to State Court Based on Lack of Jurisdiction or, in the Alternative, Principles
                    of Abstention or Equity. Document filed by Natixis Funding Corporation.(Binder, Neil) (Entered:
                    04/26/2018)

04/26/2018   Ï 24   MEMORANDUM OF LAW in Support re: 23 MOTION to Remand to State Court Based on Lack
                    of Jurisdiction or, in the Alternative, Principles of Abstention or Equity. . Document filed by Natixis
                    Funding Corporation. (Binder, Neil) (Entered: 04/26/2018)

04/26/2018   Ï 25   DECLARATION of Neil S. Binder in Support re: 23 MOTION to Remand to State Court Based on
                    Lack of Jurisdiction or, in the Alternative, Principles of Abstention or Equity.. Document filed by
                    Natixis Funding Corporation. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                    D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Binder, Neil) (Entered: 04/26/2018)

05/24/2018   Ï 26   FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU − MOTION to
                    Transfer Case . Document filed by Genon Mid−Atlantic, LLC.(Cooper, Benjamin) Modified on
                    5/31/2018 (ldi). (Entered: 05/24/2018)
                Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 6 of 9
05/24/2018   Ï 27   FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU − NOTICE of of
                    Motion to Transfer re: 26 MOTION to Transfer Case .. Document filed by Genon Mid−Atlantic,
                    LLC. (Cooper, Benjamin) Modified on 5/31/2018 (ldi). (Entered: 05/24/2018)

05/24/2018   Ï 28   FILING ERROR − DEFICIENT DOCKET ENTRY − DECLARATION of Ravi S. Shankar in
                    Support re: 26 MOTION to Transfer Case .. Document filed by Genon Mid−Atlantic, LLC.
                    (Attachments: # 1 Exhibit NRG Americas Voluntary Petition, # 2 Exhibit Payment Agreement, # 3
                    Exhibit Complaint, # 4 Exhibit Stipulation for Discontinuance − GenMa, # 5 Exhibit Stipulation for
                    Discontinuance − OL, # 6 Exhibit 2017 09 14 Trial Transcript, # 7 Exhibit 2017 09 18 Trial
                    Transcript, # 8 Exhibit 2017 09 19 Trial Transcript, # 9 Exhibit 2017 10 04 Trial Transcript, # 10
                    Exhibit 2017 10 06 Trial Transcript, # 11 Exhibit 2017 10 16 AM Trial Transcript, # 12 Exhibit
                    2017 10 16 PM Trial Transcript, # 13 Exhibit 2017 10 18 AM Trial Transcript, # 14 Exhibit 2017 10
                    18 PM Trial Transcript, # 15 Exhibit 2017 10 19 Trial Transcript, # 16 Exhibit 2017−11−03 Trial
                    Transcript, # 17 Exhibit 2017−11−07 Trial Transcript, # 18 Exhibit Texas Bankruptcy Court Order,
                    # 19 Exhibit First Notice of Production, # 20 Exhibit Notice of Removal − In re Worldcom, # 21
                    Exhibit Notice of Removal − In re Residential Capital)(Cooper, Benjamin) Modified on 5/31/2018
                    (ldi). (Entered: 05/24/2018)

05/29/2018   Ï 29   ORDER: Oral argument on Plaintiff's motion to remand, (ECF No. 23), and Defendant's motion to
                    transfer, (ECF 26), will be held on June 21, 2018 at 10:30 a.m. Set Deadlines/Hearing as to 23
                    MOTION to Remand to State Court Based on Lack of Jurisdiction or, in the Alternative, Principles
                    of Abstention or Equity., 26 MOTION to Transfer Case. (Oral Argument set for 6/21/2018 at 10:30
                    AM before Judge George B. Daniels.) (Signed by Judge George B. Daniels on 5/29/2018) (ne)
                    Modified on 8/9/2018 (tro). (Entered: 05/29/2018)

05/31/2018   Ï 30   ORDER: Oral argument on Plaintiff's motion to remand, (ECF No. 23), and Defendant's motion to
                    transfer, (ECF No. 26), is adjourned to July 18, 2018 at 10:30 a.m. (Set Deadlines/Hearing as to 23
                    MOTION to Remand to State Court Based on Lack of Jurisdiction or, in the Alternative, Principles
                    of Abstention or Equity., 26 MOTION to Transfer Case . (Oral Argument set for 7/18/2018 at 10:30
                    AM before Judge George B. Daniels.) (Signed by Judge George B. Daniels on 5/31/2018) (ne)
                    Modified on 8/9/2018 (tro). (Entered: 05/31/2018)

05/31/2018     Ï    ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE ERROR. Notice
                    to Attorney Benjamin Fader Cooper to RE−FILE Document 27 Notice (Other). Use the event
                    type Transfer Case found under the event list Motions. NOTE: Re−file this document first.
                    (ldi) (Entered: 05/31/2018)

05/31/2018     Ï    ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE ERROR. Notice
                    to Attorney Benjamin Fader Cooper to RE−FILE Document 26 MOTION to Transfer Case .
                    Use the event type Memorandum of Law in Support of Motion found under the event list
                    Replies, Opposition and Supporting Documents. (ldi) (Entered: 05/31/2018)

05/31/2018     Ï    ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT DOCKET
                    ENTRY ERROR. Notice to Attorney Benjamin Fader Cooper to RE−FILE Document 28
                    Declaration in Support of Motion. ERROR(S): Document linked to filing error. (ldi) (Entered:
                    05/31/2018)

05/31/2018   Ï 31   MOTION to Transfer Case . Document filed by Genon Mid−Atlantic, LLC.(Cooper, Benjamin)
                    (Entered: 05/31/2018)

05/31/2018   Ï 32   MEMORANDUM OF LAW in Support re: 31 MOTION to Transfer Case . OPPOSITION TO
                    MOTION TO REMAND, AND OPPOSITION TO MOTION TO ABSTAIN. Document filed by
                    Genon Mid−Atlantic, LLC. (Cooper, Benjamin) (Entered: 05/31/2018)

05/31/2018   Ï 33   DECLARATION of Ravi S. Shankar in Support re: 31 MOTION to Transfer Case .. Document filed
                    by Genon Mid−Atlantic, LLC. (Attachments: # 1 Exhibit NRG Americas Inc. Chapter 11 Petition, #
                    2 Exhibit 2017.01.27 Natixis Payment Agreement, # 3 Exhibit GenMa Complaint, # 4 Exhibit Stip
                Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 7 of 9
                    of Discontinuance (GenMa), # 5 Exhibit Stip of Discontinuance (OL), # 6 Exhibit 2017 09 14
                    GenOn Motion to Estimate Trial, # 7 Exhibit 2017 09 18 GenOn Motion to Estimate Trial, # 8
                    Exhibit 2017 09 19 GenOn Motion to Estimate Trial, # 9 Exhibit 2017 10 04 GenOn Motion to
                    Estimate Trial, # 10 Exhibit 2017 10 06 GenOn Motion to Estimate Trial, # 11 Exhibit 2017 10 16
                    AM Session GenOn Motion to Estimate Trial, # 12 Exhibit 2017 10 16 PM Session GenOn Motion
                    to Estimate Trial, # 13 Exhibit 2017 10 18 AM Session GenOn Motion to Estimate Trial, # 14
                    Exhibit 2017 10 18 PM Session GenOn Motion to Estimate Trial, # 15 Exhibit 2017 10 19 GenOn
                    Motion to Estimate Trial, # 16 Exhibit 2017−11−03 GenOn Motion to Estimate Trial, # 17 Exhibit
                    2017−11−07 GenOn Closing Arguments & Ruling, # 18 Exhibit Order Modifying Third Amended
                    Joint Chapter 11 Plan, # 19 Exhibit Plaintiffs' First Notice for Production to GenMa, # 20 Exhibit
                    WorldCom Notice of Removal, # 21 Exhibit Residential Capital Notice of Removal)(Cooper,
                    Benjamin) (Entered: 05/31/2018)

06/20/2018   Ï 34   LETTER addressed to Judge George B. Daniels from Benjamin Fader Cooper dated June 20, 2018
                    re: Natixis Funding Corporation v. GenOn Mid−Atlantic, LLC. Document filed by Genon
                    Mid−Atlantic, LLC.(Cooper, Benjamin) (Entered: 06/20/2018)

06/20/2018   Ï 35   LETTER addressed to Judge George B. Daniels from Neil S. Binder dated June 20, 2018 re:
                    Proposed Case Management Plan and Scheduling Order. Document filed by Natixis Funding
                    Corporation. (Attachments: # 1 Proposed Case Management Plan & Scheduling Order)(Binder,
                    Neil) (Entered: 06/20/2018)

06/21/2018   Ï 36   MEMO ENDORSEMENT on re: 34 Letter filed by Genon Mid−Atlantic, LLC. ENDORSEMENT:
                    The initial conference is adjourned to July 18, 2018, at 10:30 a.m. (Initial Conference set for
                    7/18/2018 at 10:30 AM before Judge George B. Daniels.) (Signed by Judge George B. Daniels on
                    6/21/2018) (jwh) (Entered: 06/21/2018)

06/21/2018   Ï 37   REPLY MEMORANDUM OF LAW in Support re: 23 MOTION to Remand to State Court Based
                    on Lack of Jurisdiction or, in the Alternative, Principles of Abstention or Equity. . Document filed
                    by Natixis Funding Corporation. (Binder, Neil) (Entered: 06/21/2018)

06/21/2018   Ï 38   DECLARATION of Neil S. Binder in Support re: 23 MOTION to Remand to State Court Based on
                    Lack of Jurisdiction or, in the Alternative, Principles of Abstention or Equity.. Document filed by
                    Natixis Funding Corporation. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Binder, Neil) (Entered:
                    06/21/2018)

06/21/2018   Ï 39   MEMORANDUM OF LAW in Opposition re: 31 MOTION to Transfer Case . . Document filed by
                    Natixis Funding Corporation. (Binder, Neil) (Entered: 06/21/2018)

06/21/2018   Ï 40   DECLARATION of Neil S. Binder in Opposition re: 31 MOTION to Transfer Case .. Document
                    filed by Natixis Funding Corporation. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                    Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Binder, Neil) (Entered: 06/21/2018)

07/09/2018   Ï 41   REPLY MEMORANDUM OF LAW in Support re: 31 MOTION to Transfer Case . . Document
                    filed by Genon Mid−Atlantic, LLC. (Cooper, Benjamin) (Entered: 07/09/2018)

07/09/2018   Ï 42   REPLY AFFIRMATION of Ravi S. Shankar in Support re: 31 MOTION to Transfer Case ..
                    Document filed by Genon Mid−Atlantic, LLC. (Attachments: # 1 Exhibit Exhibit 22 − Letter to
                    GenOn)(Cooper, Benjamin) (Entered: 07/09/2018)

07/18/2018     Ï    Minute Entry for proceedings held before Judge George B. Daniels: Oral Argument held on
                    7/18/2018 re: 26 MOTION to Transfer Case . filed by Genon Mid−Atlantic, LLC, 23 MOTION to
                    Remand to State Court Based on Lack of Jurisdiction or, in the Alternative, Principles of Abstention
                    or Equity. filed by Natixis Funding Corporation. Plaintiff Counsel: Neil Binder, Lindsay Bush,
                    Tessa Harvey Defense Counsel: Benjamin Cooper, Ravi Shankar, Benjamin Winger and Court
                    Reporter present. The subsequent conference is scheduled for September 26, 2018 at 10:30 a.m.
                    (Vega, Elizabeth) (Entered: 07/18/2018)
                Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 8 of 9
07/18/2018   Ï 43   CIVIL CASE MANAGEMENT PLAN AND SCHEDULING ORDER: Initial Conference set for
                    6/27/2018 at 09:30 AM in Courtroom 11A at the United States District Courthouse, 500 Pearl
                    Street, New York, NY 10007 before Judge George B. Daniels. Amended Pleadings due by
                    10/3/2018. Except for good cause shown, all discovery shall be commenced in time to be completed
                    by 12/5/2018. Joinder of Parties due by 10/3/2018. Joint Pretrial Order due by 2/6/2019. The parties
                    shall be ready for trial within 48 hours, notice on or after 3/6/2019. The estimated trial time is 6
                    days, and this is a non−jury trial. Case Management Conference set for 11/7/2018 at 09:45 AM
                    before Judge George B. Daniels. Final Pretrial Conference set for 2/13/2019 at 09:45 AM before
                    Judge George B. Daniels. (Signed by Judge George B. Daniels on 7/18/2018) (mro) (Entered:
                    07/18/2018)

08/17/2018   Ï 44   LETTER addressed to Judge George B. Daniels from Benjamin Fader Cooper dated August 17,
                    2018 re: Texas Bankruptcy Court's Views re Motions to Remand and Transfer. Document filed by
                    Genon Mid−Atlantic, LLC. (Attachments: # 1 Exhibit A − July 18, 2018 SDNY Hearing Transcript,
                    # 2 Exhibit B − August 1, 2018 SDTX Hearing Transcript, # 3 Exhibit C − August 14, 2018 SDTX
                    Hearing Transcript)(Cooper, Benjamin) (Entered: 08/17/2018)

08/17/2018   Ï 45   LETTER addressed to Judge George B. Daniels from Neil S. Binder dated August 17, 2018 re:
                    Motions to Remand and Transfer Venue. Document filed by Natixis Funding Corporation.(Binder,
                    Neil) (Entered: 08/17/2018)

08/22/2018   Ï 46   ORDER: denying 23 Motion to Remand to State Court; granting 31 Motion to Transfer Case.
                    Defendant's motion to transfer (ECF No. 31) this case to the Southern District of Texas is
                    GRANTED. Plaintiff's motion to remand this case to New York state court (ECF No. 23) is
                    DENIED. And as set forth herein. SO ORDERED. (Signed by Judge George B. Daniels on
                    8/22/2018) (ama) (Entered: 08/22/2018)

08/23/2018   Ï 47   NOTICE OF APPEAL from 46 Order on Motion to Remand to State Court,, Order on Motion to
                    Transfer Case,. Document filed by Natixis Funding Corporation. Filing fee $ 505.00, receipt number
                    0208−15485806. Form C and Form D are due within 14 days to the Court of Appeals, Second
                    Circuit. (Binder, Neil) (Entered: 08/23/2018)

08/23/2018     Ï    Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of Appeals re:
                    47 Notice of Appeal. (tp) (Entered: 08/23/2018)

08/23/2018     Ï    Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic Files
                    for 47 Notice of Appeal, filed by Natixis Funding Corporation were transmitted to the U.S. Court of
                    Appeals. (tp) (Entered: 08/23/2018)

08/23/2018   Ï 48   LETTER addressed to Judge George B. Daniels from Benjamin Fader Cooper dated August 23,
                    2018 re: Natixis Funding Corporations Forthcoming Order to Show Cause. Document filed by
                    Genon Mid−Atlantic, LLC.(Cooper, Benjamin) (Entered: 08/23/2018)

08/23/2018   Ï 49   ORDER re: 48 Letter filed by Genon Mid−Atlantic, LLC: On August 23, 2018, Plaintiff submitted a
                    request for an order to show cause and stay, accompanied by a memorandum of law in support
                    thereof, and the Declaration of Neil S. Binder, with accompanying exhibits. Plaintiff's request for an
                    order to show cause and stay of this Court's August 22, 2018 transfer order (ECF No. 46) pending
                    the resolution of Plaintiff's appeal to the United States Court of Appeals for the Second Circuit is
                    hereby DENIED. (Signed by Judge George B. Daniels on 8/23/2018) (jwh) (Entered: 08/24/2018)

08/27/2018   Ï 50   TRANSCRIPT of Proceedings re: conference held on 7/18/2018 before Judge George B. Daniels.
                    Court Reporter/Transcriber: Raquel Robles, (212) 805−0300. Transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the deadline for Release
                    of Transcript Restriction. After that date it may be obtained through PACER. Redaction Request
                    due 9/17/2018. Redacted Transcript Deadline set for 9/27/2018. Release of Transcript Restriction
                    set for 11/26/2018.(McGuirk, Kelly) (Entered: 08/27/2018)
                Case 4:19-cv-00576 Document 55 Filed in TXSD on 02/20/19 Page 9 of 9
08/27/2018   Ï 51   NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an official
                    transcript of a CONFERENCE proceeding held on 7/18/18 has been filed by the court
                    reporter/transcriber in the above−captioned matter. The parties have seven (7) calendar days to file
                    with the court a Notice of Intent to Request Redaction of this transcript. If no such Notice is filed,
                    the transcript may be made remotely electronically available to the public without redaction after 90
                    calendar days...(McGuirk, Kelly) (Entered: 08/27/2018)

08/29/2018   Ï 52   ORDER of USCA (Certified Copy) as to 47 Notice of Appeal, filed by Natixis Funding
                    Corporation. USCA Case Number 18−2493. Appellant moves for an emergency stay of the district
                    court's August 22, 2018 order transferring this action to the U.S. District Court for the Southern
                    District of Texas, pending resolution of this appeal. Appellee opposes the motion. IT IS HEREBY
                    ORDERED that Appellant's request for a stay pending appeal is REFERRED to a three−judge
                    motions panel. The Court grants a temporary stay of the district court's August 22, 2018 transfer
                    order until the motions panel determines Appellant's request for a stay pending appeal. Catherine
                    O'Hagan Wolfe, Clerk USCA for the Second Circuit. Certified: 08/29/2018. (nd) (Entered:
                    08/29/2018)

02/15/2019   Ï 53   MANDATE of USCA (Certified Copy) as to 47 Notice of Appeal, filed by Natixis Funding
                    Corporation. USCA Case Number 18−2493. Appellant moves for a stay pending appeal of the
                    district court's order transferring the case to the Southern District of Texas, and, in the alternative,
                    requests a writ of mandamus directing the district court to vacate its transfer order. Appellee moves
                    to dismiss the appeal for lack of jurisdiction. Upon due consideration, it is hereby ORDERED that
                    Appellee's motion is GRANTED and the appeal is DISMISSED for lack of jurisdiction, because no
                    final judgment has been entered and there is no other basis for immediate appeal. See Wilkins v.
                    Am. Exp.− Isbrandtsen Lines, Inc., 401 F.2d 151, 151 (2d Cir. 1968) (order denying a remand is not
                    final and appealable). Appellant's request to construe the appeal as a petition for writ of mandamus
                    is DENIED because Appellant has not demonstrated that its right to issuance of the writ is clear and
                    indisputable. See In re Roman Catholic Diocese of Albany, New York, Inc., 745 F.3d 30, 35 (2d
                    Cir. 2014) (per curiam); Linde v. Arab Bank, PLC, 706 F.3d 92, 107 (2d Cir. 2013). It is further
                    ORDERED that Appellant's motion for a stay is DENIED as moot.. Catherine O'Hagan Wolfe,
                    Clerk USCA for the Second Circuit. Issued As Mandate: 2/15/2019. (nd) (Entered: 02/15/2019)

02/15/2019     Ï    Transmission of USCA Mandate to the District Judge re: 53 USCA Mandate,,,,,. (nd) (Entered:
                    02/15/2019)

02/19/2019   Ï 54   ORDER re: 53 USCA Mandate: By order dated August 22, 2018 (the "Order"), this Court granted
                    Defendant's motion to transfer this action to the Southern District of Texas. (ECF No. 46.) On
                    February 15, 2019, the Second Circuit issued a mandate dismissing Plaintiff's appeal of the Order
                    for lack of jurisdiction, denying Plaintiff's motion to construe the appeal as a petition for writ of
                    mandamus, and denying Plaintiff's motion for a stay of the Order pending appeal as moot. (ECF No.
                    53.) The Clerk of Court is directed to transfer this action to the Southern District of Texas. (Signed
                    by Judge George B. Daniels on 2/19/2019) (jwh) (Entered: 02/19/2019)

02/19/2019     Ï    CASE TRANSFERRED OUT ELECTRONICALLY from the U.S.D.C. Southern District of New
                    York to the United States District Court − District of Southern District of Texas (jwh) (Entered:
                    02/19/2019)
